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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 JONIECE BROOKS, et al.,                       )
                                               )
        Plaintiffs,                            )
                                               )
        vs.                                    ) Cause No. 1:18-cv-3127-WTL-DML
                                               )
 FISHERS HIGH SCHOOL, et al.,                  )
                                               )
        Defendants.                            )

                      ENTRY ON DEFENDANTS’ MOTION TO DISMISS

        This cause is before the Court on the Defendants’ motion to dismiss (Dkt. No. 13). The

 Plaintiffs have not responded to the Defendants’ motion, and the time for doing so has passed.

 Therefore, the motion is subject to being summarily granted pursuant to Local Rule 7.1(c)(5).

        In any event, the Plaintiffs bring claims against the Defendants for (1) violation of 42

 U.S.C. § 1983; (2) negligent training of employee; (3) negligent supervision of employee; (4)

 negligent retention of employee; and (5) negligent infliction of emotional distress. The

 Defendants argue that the claims of Plaintiff Joniece Brooks should be dismissed because the

 allegations specific to Plaintiff Brooks fail to state a claim upon which relief can be granted. The

 Court agrees; Plaintiff Brooks offers no legal support for the proposition that the facts alleged in

 the Complaint support a claim under federal or Indiana law by her against the Defendants, as the

 allegations relate to the Defendants’ treatment of her son. Accordingly, pursuant to Federal Rule

 of Civil Procedure 12(b)(6), the Court GRANTS the Defendants’ motion, and Plaintiff Brooks’s

 claims are DISMISSED.
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        SO ORDERED: 12/21/2018




 Copies to all counsel of record via electronic notification




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